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                      UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA


_______________________________
MARGARET CHANEY                 )
                                )                    Case Number
            Plaintiff           )
                                )
            vs.                 )                    CIVIL COMPLAINT
                                )
PORTFOLIO RECOVERY              )
ASSOCIATES, LLC                 )                    JURY TRIAL DEMANDED
A WHOLLY-OWNED                  )
SUBSIDIARY OF PORTFOLIO         )
RECOVERY ASSOCIATES, INC. )
                                )
            Defendant           )
_______________________________)


                        COMPLAINT AND JURY DEMAND


       COMES NOW, Plaintiff, Margaret Chaney, by and through her undersigned

counsel, Brent F. Vullings, Esquire, of Vullings Law Group, LLC, complaining of

Defendant, and respectfully avers as follows:


                        I. INTRODUCTORY STATEMENT

       1.      Plaintiff, Margaret Chaney, is an adult natural person and brings this

action for actual and statutory damages and other relief against Defendant for violations

of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), which

prohibits debt collectors from engaging in abusive, deceptive and unfair practices,

violations of the Pennsylvania Fair Credit Extension Uniformity Act, 73 P.S. § 2270.4

(“PFCEUA) and the Unfair Trade Practices and Consumer Protection Law, 73 P.S. §
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201-1-201-9.3 (“UTPCPL”) which prohibits debt collectors and original creditors from

engaging in abusive, deceptive and unfair practices.

                                     II. JURISDICTION


        2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

§ 1337.

        3.      Venue in this District is proper in that the Defendant has an office located

in this District and the Plaintiff resides in this District.


                                        III. PARTIES


        4.      Plaintiff, Margaret Chaney, (hereafter, Plaintiff) is an adult natural person

residing at 1160 E. Upsal Street, Philadelphia, PA 19150. At all times material and

relevant hereto, Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a

(2).

        5.      Defendant, Portfolio Recovery Associates, LLC (hereafter, Defendant), a

wholly-owned subsidiary of Portfolio Recovery Associates, Inc, at all times relevant

hereto, is and was a limited liability company engaged in the business of collecting debt

within the Commonwealth of Pennsylvania with an office located at 1100 East Hector

Street, Suite 250, West Conshohocken, PA 19428.

        6.      Defendant, Portfolio Recovery is engaged in the collection of debts from

consumers using the telephone and mail. Defendant is a “debt collector” as defined by

the FDCPA, 15 U.S.C. §1692a(6).
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                           IV. FACTUAL ALLEGATIONS


         7.    Within the last year, Plaintiff has been receiving constant and continuous

calls from the Defendant attempting to collect on a debt allegedly owed on a Wal-Mart

account.

         8.    Plaintiff is still unaware of how much she is said to owe on this account.

         9.    Plaintiff stated that with each call, the Defendant become increasingly

rude and demanding to know how the Plaintiff intended to pay off her debt.

         10.   Plaintiff has informed the Defendant that she is recovering from a stroke

and has little money.

         11.   Plaintiff was unable to pay more than $25.00 per month toward this

account.

         12.   Defendant insisted that the Plaintiff enter into a settlement arrangement

immediately.

         13.   In December, 2011, Defendant agreed to accept Plaintiff’s payments of

$25.00 a month as long as she agreed to increase those payments when she had more

money.

         14.   After being harassed and coerced, Plaintiff reluctantly gave the Defendant

permission to automatically withdrawal said payments from her checking account.

         15.   Despite Defendant receiving payments monthly as agreed, the Defendant

continued to call demanding more money from the Plaintiff even though she could not

afford any higher payments.

         16.   Plaintiff was confused and became frightened of what measures the

Defendant would take because she could not afford to increase her monthly payments.
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       17.     Plaintiff became paranoid as a result of the Defendant’s incessant phone

calls and demands for more money that the Plaintiff started to avoid the Defendant’s

daily phone calls.

       18.     On or about November 10, 2012, Plaintiff received a summons from the

Defendant.

       19.     However, the summons was a suit being brought against the Plaintiff on

an account this time allegedly owed on a Sam’s Club account.

       20.     Plaintiff was unaware that the Defendant was also collecting on this

account.

       21.     The Defendant is attempting to collect a balance of $2,764.66.

       22.     Plaintiff is mentally distraught and sickened by the actions of the

Defendant.

       23.     Plaintiff is unaware of any prior paperwork being received to inform her

of an additional account being collected on.

       24.     Defendant at no time informed the Plaintiff that they were collecting on

more than one account when she entered into a settlement arrangement with them.

       25.     The Defendant acted in a false, deceptive, misleading and unfair when

they engaged in conduct the natural consequence of which is to harass, oppress or abuse

such person in connection with the collection of a debt.

       26.     The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, the Defendant could have taken the steps necessary to bring their

and their agent’s actions within compliance of the FDCPA, but neglected to do so and

failed to adequately review those actions to insure compliance with the law.
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       27.     At all times pertinent hereto, the Defendant was acting by and through it

agents, servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendant herein.

       28.     At all times pertinent hereto, the conduct of the Defendant as well as its

agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent

and in wanton disregard for federal and state law and the rights of the Plaintiff herein.


                                   COUNT I – FDCPA


       29.     The above paragraphs are hereby incorporated herein by reference.

       30.     At all times relevant hereto, Defendant was attempting to collect an

alleged debt which was incurred by Plaintiff for personal, family or household purposes

and is a “debt” as defined by 15 U.S.C. § 1692a(5).

       31.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of:

               §§ 1692d:               Any conduct the natural consequence of which is to

                                       harass, oppress, or abuse any person

               §§ 1692d(5):            Caused the phone to ring or engaged any person in

                                       telephone conversations repeatedly.

               §§ 1692e:               Any other false, deceptive, or misleading

                                       representation or means in connection with the debt

                                       collection

               §§ 1692f:               Any unfair or unconscionable means to collect or

                                       attempt to collect the alleged debt
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               §§ 1692g(a)(1):         Must state the amount of the debt


       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant, Portfolio Recovery Associates, LLC, for the following:

       a.      Actual damages;

       b.      Statutory damages pursuant to 15 U.S.C. § 1692k;

       c.      Reasonable attorney’s fees and litigation expenses, plus costs of suit; and

       d.      Such additional and further relief as may be appropriate or that the

               interests of justice require.

       d.      Such additional and further relief as may be appropriate or that the

               interests of justice require.

                                         COUNT II
        VIOLATIONS OF PENNSYLVANIA FAIR CREDIT EXTENSION
              UNIFORMITY ACT- (FCEUA, 73 Pa. C.S. § 2270.1 et seq.)


       32.     Plaintiff repeats, re-alleges and incorporates by reference the foregoing

paragraphs.

       33.     The collection of a debt in Pennsylvania is proscribed by the Fair Credit

Extension Uniformity Act at 73 Pa. C.S. § 2270.1 et seq., (“FCEUA”) and the

Pennsylvania Unfair Trade Practices and Consumer Protection Law 73 Pa. C.S 201-1 et

seq. (“UTPCPL”). Defendant is a debt collector pursuant to 73 Pa. C.S. § 2270.3.

       34.     The alleged debt Defendant were attempting to collect is a debt as defined

by 73 Pa. C.S. § 2270.3.
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        35.        The FCEUA proscribes, inter alia, engaging in any false, misleading or

deceptive representations when attempting to collect a consumer debt.

        36.        The actions of Defendant, as aforesaid, constitute false, misleading or

deceptive representations.

        37.        Violations of the FDCPA is a per se violation of the FCEUA and the

UTPCPL.

        38.        As a direct and proximate result of the said actions, Plaintiff has suffered

financial harm.

        39.        By virtue of the violations of the law as aforesaid, and pursuant to the

FCEUA and UTPCPL, Plaintiff is entitled to an award of actual damages, treble

damages, attorney’s fee and costs of suit.

        WHEREFORE, Plaintiff prays this Honorable Court enter judgment in their

favor and against Defendant, and Order the following relief:

        a.         Actual damages;

        b.         Treble damages;

        c.         An award of reasonable attorneys fees and expenses and costs of court;

and

        d.         Such additional relief as is deemed just and proper, or that the interests of

justice require.
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                                         COUNT III
     VIOLATIONS OF PENNSYLVANIA CONSUMER PROTECTION LAW
                         (“UTPCPL”), 73 Pa. C.S. § 201-1 et seq.

        40.      The foregoing paragraphs are incorporated herein by reference.

        41.      Plaintiff and Defendant are “Persons” to 73 Pa. C.S § 201-2.

        42.      The UTPCPL proscribes, inter alia, engaging in any “unfair or deceptive

acts or practices”, either at, and prior to or subsequent to a consumer transaction.

        43.      The actions of the Defendant, as aforesaid, constitute unfair acts or

practices under the UTPCPL, by way of the following, inter alia:

        a.       Defendant misrepresented to Plaintiff the character, extent or amount of

the debt or its status in a legal proceeding, 73 Pa. C.S. § 201-3.1;

        b.       Defendant engaged in deceptive or fraudulent conduct which created a

likelihood of confusion or of misunderstanding, 73 Pa. C.S. § 201-2(xxi);

        c.       Defendant failed to comply with the FDCPA and FCEUA which are per se

violations of the UTPCPL.

        44.      As a direct and proximate result of the said actions, Plaintiff has suffered

financial damages and other harm.

        45.      By virtue of the violations of law aforesaid and pursuant to the UTPCPL,

Plaintiff is entitled to an award of actual damages, treble damages, attorney’s fees and

costs of suit.

        WHEREFORE Plaintiff prays this Honorable Court enter judgment in their favor

and against Defendant, and Order the following relief:
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       a.      An Order declaring that Defendant violated the UTPCPL;

       b.      Actual damages;

       c.      Treble damages;

       d.      An award of reasonable attorney’s fees and expenses and cost of suit; and

       e.      Such additional relief as is deemed just and proper, or that the interest of

justice may require.




                                  V. JURY DEMAND


       Plaintiff hereby demands a jury trial as to all issues herein.



                                              Respectfully submitted,

                                              VULLINGS LAW GROUP, LLC

Date: November 29, 2012
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